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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    CARRIE FISHER,                 )      DEMAND FOR JURY TRIAL
                                   )
                       Plaintiff,  )
                                   )
    v.                             ) Civil Action No.:
                                   )
    MARRIOTT INTERNATIONAL,        )
    INC., COBB GALLERIA HOTEL,     )
    LLC, AUDIO VISUAL SERVICES )
    GROUP LLC D/B/A PSAV,          )
    REALLY SUCCESSFUL LIMITED, )
    BARRY PLASKOW, MOONSONG )
    MEDIA1 and JOHN DOES 1-5       )
                                   )
                       Defendants.

                                             COMPLAINT

        Plaintiff, CARRIE FISHER, Individually, by and through her attorneys,

Pansini & Mezrow and Law Office of Daniel R. Crumby, ever as follows upon

causes of action set forth below:

                                PRELIMINARY STATEMENT

        1.       This action is a renewal under O.C.G.A. § 9-2-61 of Carrie Fisher v.

Marriott International, Inc., Cobb Galleria Hotel, LLC, Audio Visual Services Group



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  Moonsong Media nay Moonsong Productions is the same entity, and was previously misidentified in the Original
litigation.
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LLC D/B/A PSAV, Really Successful Limited, Barry Plaskow, Moonsong Media

and John Does 1-5, United States District Court for the Northern District of Georgia

Civil Action File No. 1:19-cv-01769-ELR (“Original Suit”), which was a valid

pending action voluntarily dismissed without prejudice pursuant to Federal Rules of

Civil Procedure 41(a)(1)(A)(ii) on December 15, 2020. This action arises out of the

same transaction or occurrence and is asserted by the same Plaintiff against the same

Defendants as the Original Suit.

      2.       The privilege of renewal has not previously been exercised.

                                      PARTIES

      3.       Plaintiff, CARRIE FISHER, is an adult individual and citizen of the

Commonwealth of Pennsylvania, who at all times relevant resided at 2477 St. Peters

Road, Pottstown, Pennsylvania 19465.

      4.       Defendant, MARRIOTT INTERNATIONAL, INC., is, upon

information and belief, a foreign corporation and/or an incorporated association

and/or partnership which, at all times relevant herein, has engaged in business within

the State of Georgia and in the County of Cobb, on a regular, systematic, continuous

and substantial basis. Said Defendant maintains a regular place of business at 10400

Fernwood Road, Bethesda, Maryland 20817.




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      5.       Defendant, COBB GALLERIA HOTEL, LLC, is a Georgia Limited

Liability Company, at all times relevant herein, has engaged in business within the

State of Georgia and in the County of Cobb, on a regular, systematic, continuous and

substantial basis. Said Defendant maintains a regular place of business at 2844 Cobb

Parkway SE, Atlanta, Georgia 30339.

      6.       Defendant, AUDIO VISUAL SERVICES GROUP, LLC d/b/a

PSAV, upon information and belief, is a foreign corporation and/or an incorporated

association and/or partnership which, at all times relevant herein, has engaged in

business within the State of Georgia and in the County of Cobb, on a regular,

systematic, continuous and substantial basis. Said Defendant maintains a regular

place of business at 5100 N. River Road, Suite 300, Schiller Park, Illinois 60176.

      7.       Defendant, REALLY SUCCESSFUL LIMITED, upon information

and belief, is a foreign corporation and/or an incorporated association and/or

partnership which, at all times relevant herein, has engaged in business within the

State of Georgia and in the County of Cobb, on a regular, systematic, continuous and

substantial basis. Said Defendant maintains a regular place of business at 4-8 Hope

Street, IM1 1AQ Douglas Isle of Man, British Isles, United Kingdom.

      8.       Defendant,    MOONSONG           MEDIA       nay      MOONSONG

PRODUCTION, upon information and belief, is a foreign corporation and/or an


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incorporated association and/or partnership which, at all times relevant herein, has

engaged in business within the State of Georgia and in the County of Cobb, on a

regular, systematic, continuous and substantial basis. Said Defendant, Moonsong

Media nay Moonsong Production was served in the Original litigation and

maintained its regular place of business at Moshav Yonatan, Israel 1241500.

      9.       Defendant, BARRY PLASKOW, upon information and belief, is the

Chief Executive Officer of REALLY SUCCESSFUL LIMITED, a foreign

corporation and/or an incorporated association and/or partnership which, at all times

relevant herein, has engaged in business within the State of Georgia and in the

County of Cobb, on a regular, systematic, continuous and substantial basis. Said

Defendant maintains a regular place of business at 4-8 Hope Street, IM1 1AQ

Douglas Isle of Man, British Isles, United Kingdom.

      10.      Defendants, JOHN DOES 1-5, whether singular or plural, are those

entities or persons, at all times relevant herein, have engaged in business within the

State of Georgia and in the County of Cobb, on a regular, systematic, continuous and

substantial basis, and whose wrongful conduct also caused Plaintiff injuries and

damages. The identities of any John Does are unknown but will be substituted by

the amendment if and when ascertained. John Does are subject to the jurisdiction

and venue of this Court.


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      11.    Plaintiff, CARRIE FISHER, suffered physical pain, mental anguish,

and humiliation, and she may continue to suffer the same for an indefinite period in

the future, and the amount in controversy exceeds Seventy-Five Thousand Dollars

($75,000.00)

      12.    This Court has diversity jurisdictions over the Parties pursuant to 28

U.S.C. § 1332. Venue is proper in the United States District Court for the Northern

District of Georgia, as the incident forming the basis for this Complaint occurred at

the Sheraton Suites Galleria hotel located at 2844 Cobb Parkway SE, Atlanta,

Georgia 30339, in the Northern District of Georgia.

                          FACTUAL ALLEGATIONS

      13.    At all times relevant herein, the Defendants, MARRIOTT

INTERNATIONAL, INC., COBB GALELRIA HOTEL, LLC, AUDIO

VISUAL SERVICES GROUP LLC d/b/a PSAV, REALLY SUCCESSFUL

LIMITED, MOONSONG MEDIA, BARRY PLASKOW, and JOHN DOES 1-

5, were acting by and through their authorized agents and/or employees who were

acting in the course and scope of their employment.

      14.    At all times relevant hereto, Plaintiff, CARRIE FISHER, was a guest

and business invitee at the Sheraton Suites Galleria hotel located at 2844 Cobb

Parkway SE, Atlanta, Georgia 30339.


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      15.   At    all     times   relevant   hereto,   Defendant,    MARRIOTT

INTERNATIONAL, INC., owned, occupied, maintained, supervised, managed

and/or possessed the premises of the Sheraton Suites Galleria hotel located at 2844

Cobb Parkway SE, Atlanta, Georgia 30339.

      16.   At all times relevant hereto, Defendant, COBB GALLERIA HOTEL,

LLC, owned, occupied, maintained, supervised, managed and/or possessed the

premises of the Sheraton Suites Galleria hotel located at 2844 Cobb Parkway SE,

Atlanta, Georgia 30339.

      17.   At all times relevant hereto, Defendant, AUDIO VISUAL SERVICES

GROUP LLC d/b/a PSAV, owned, occupied, maintained, supervised, and/or

possessed the audio-visual equipment on the premises located at 2844 Cobb

Parkway SE, Atlanta, Georgia 30339.

      18.   At all times relevant hereto, Defendant, REALLY SUCCESSFUL

LIMITED, maintained, supervised, and/or possessed the audio-visual equipment on

the premises located at 2844 Cobb Parkway SE, Atlanta, Georgia 30339. REALLY

SUCCESSFUL LIMITED, contracted with the Sheraton Suites Galleria Atlanta

hotel for the use of the premises for an e-commerce seminar in February 2018,

including the use of their audio-visual equipment. Plaintiff attended REALLY

SUCCESSFUL LIMITED’S e-commerce seminar. During the e-commerce


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seminar, REALLY SUCCESSFUL LIMITED utilized the audio-visual equipment

and maintained, supervised, and/or possessed the audio-visual equipment and were

aware of and failed to warn and abate hazardous conditions that existed on the

premises.

      19.   At all times relevant hereto, Defendant, MOONSONG MEDIA, acted

as a contractor for REALLY SUCCESSFUL LIMITED and provide technical

support services for the e-commerce seminar conducted at the Sheraton Suites

Galleria hotel on February 6, 2018. During the e-commerce seminar, MOONSONG

MEDIA utilized the audio-visual equipment, and maintained, supervised and/or

possessed the audio-visual equipment, and were aware of and failed to warn and

abate the hazardous condition that existed on the premises located at 2844 Cobb

Parkway SE, Atlanta, Georgia 30339.

      20.   At all times, material hereto, Defendant, BARRY PLASKOW,

maintained, supervised, and/or possessed the audio-visual equipment on the

premises located at 2844 Cobb Parkway SE, Atlanta, Georgia 30339. BARRY

PLASKOW is REALLY SUCCESSFUL LIMITED’S Chief Executive Officer,

and he hosted the e-commerce seminar at the Sheraton Galleria hotel in February

2018. BARRY PLASKOW was responsible for the business invitees, including

Plaintiff, who attended his e-commerce seminar. BARRY PLASKOW also


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oversaw REALLY SUCCESSFUL LIMITED’S daily operations. He approved the

contract with the Sheraton Galleria hotel and MOONSONG MEDIA to produce his

e-commerce seminar in February 2018, and he inspected the ballroom where

Plaintiff’s injuries occurred.

      21.     At all times, material hereto, the Defendants, JOHN DOES 1-5,

maintained, supervised, inspected, and/or provided security and cleaning services

for Sheraton Galleria Suites hotel premises at 2844 Cobb Parkway SE, Atlanta,

Georgia 30339 in February 2018. JOHN DOES 1-5 are liable to Plaintiff for her

injuries for failing to warn others of a defective and hazardous condition, correct,

remedy, repair the defect, and maintain the premises in a safe condition, among

others.

      22.     On or about February 6, 2018, and for a period prior thereto, there

existed on the premises above where Plaintiff, CARRIE FISHER, a business

invitee and guest, was injured, dangerous and hazardous conditions, obstructions,

defects, and irregularities in the form of an improperly installed audio-visual cord

and an electrical power cord causing a danger, menace, nuisance, trap and/or hazard

to persons lawfully upon the premises described above.

      23.     On or about February 6, 2018, the Plaintiff, CARRIE FISHER, while

lawfully present on the premises above, was caused to slip and fall due to coming


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into contact with the aforementioned defective and hazardous conditions then

existing upon the premises above, resulting in serious and permanent injuries.

      24.    Defendant, MARRIOTT INTERNATIONAL, INC., by and through

its agents, servants, workmen and/or employees, acting in the course of their

employment and within the scope of their authority, knew or should have known of

the existence of the aforementioned defects and hazards before Plaintiff’s fall and

Defendant, MARRIOTT INTERNATIONAL, INC., was obliged to correct,

remedy, repair and/or eliminate said defects.

      25.    Defendant, COBB GALLERIA HOTEL, LLC by and through its

agents, servants, workmen and/or employees, acting in the course of their

employment and within the scope of their authority, knew or should have known of

the existence of the aforementioned defects and hazards before Plaintiff’s fall and

Defendant, COBB GALLERIA HOTEL, LLC, was obliged to correct, remedy,

repair and/or eliminate said defects.

      26.    Defendant, AUDIO VISUAL SERVICES GROUP LLC d/b/a

PSAV, by and through its agents, servants, workmen and/or employees, acting in

the course of their employment and within the scope of their authority, knew or

should have known of the existence of the aforementioned defects and hazards




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before Plaintiff’s fall and Defendant, AUDIO VISUAL SERVICES GROUP LLC

d/b/a PSAV, was obliged to correct, remedy, repair and/or eliminate said defects.

      27.       Defendant, REALLY SUCCESSFUL LIMITED, by and through its

agents, servants, workmen and/or employees, acting in the course of their

employment and within the scope of their authority, knew or should have known of

the existence of the aforementioned defects and hazards before Plaintiff’s fall and

Defendant, REALLY SUCCESSFUL LIMITED, was obliged to correct, remedy,

repair and/or eliminate said defects.

      28.       Defendant, MOONSONG MEDIA, by and through its agents,

servants, workmen and/or employees, acting in the course of their employment and

within the scope of their authority, knew or should have known of the existence of

the aforementioned defects and hazards before Plaintiff’s fall and Defendant,

MOONSONG MEDIA, was obliged to correct, remedy, repair and/or eliminate

said defects.

      29.       Defendant, BARRY PLASKOW, by and through its agents, servants,

workmen and/or employees, acting in the course of their employment and within the

scope of their authority, knew or should have known of the existence of the

aforementioned defects and hazards before Plaintiff’s fall and Defendant, BARRY

PLASKOW, was obliged to correct, remedy, repair and/or eliminate said defects.


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      30.     Defendants, JOHN DOES 1-5, by and through its agents, servants,

workmen and/or employees, acting in the course of their employment and within the

scope of their authority, knew or should have known of the existence of the

aforementioned defects and hazards before Plaintiff’s fall and Defendants, JOHN

DOES 1-5, was obliged to correct, remedy, repair and/or eliminate said defects.

      31.     By reason of the negligence of the Defendants as hereinafter more fully

alleged the Plaintiff, CARRIE FISHER, suffered severe and permanent injuries to

her neck, back, arms, hands, and knees; she also sustained severe and permanent

injuries to the bones, muscles, tendons, ligaments, nerves, and tissues of her neck,

back, arms, hands, and knees, including but not limited to the following: acute post-

traumatic left knee contusion, tear of lateral and medial meniscus, acute post-

traumatic left knee contusion, tear of lateral and medial meniscus, acute post-

traumatic cervical and lumbar strain and sprain, injury to her right knee, neck and

back due to overcompensation due to injuries sustained to the left knee and

aggravation and/or exacerbation of all known and unknown pre-existing medical

conditions.

      32.     Plaintiff, CARRIE FISHER, suffered internal injuries of unknown

nature; she suffered severe aches, pains, mental anxiety and anguish, a severe shock




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to her entire nervous system, and other injuries the full extent of which are not yet

known.

        33.   Plaintiff, CARRIE FISHER, has in the past and will undergo severe

pain and suffering as a result of which she has been in the past and will in the future

be unable to attend to her usual duties and occupation, all to her great financial

detriment and loss. Plaintiff, CARRIE FISHER, believes and therefore avers that

her injuries resulted in a permanent loss of bodily function and are permanent in

nature.

        34.   As a result of the aforesaid occurrence, Plaintiff, CARRIE FISHER,

has been compelled to effectuate a cure for the aforementioned injuries, expend large

sums of money for medicine and medical attention, and may be required to expend

additional sums for the same purposes in the future.

        35.   As a result of the aforesaid occurrence, Plaintiff, CARRIE FISHER,

has been prevented from attending to her usual and daily activities and duties and

may be prevented for an indefinite time in the future, all to her great detriment and

loss.

        36.   As a result of the aforesaid occurrence, Plaintiff, CARRIE FISHER,

has suffered physical pain, mental anguish, and humiliation. She may continue to

suffer the same for an indefinite period in the future.


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                               COUNT I
                     MARRIOTT INTERNATIONAL, INC.

      35.    Plaintiff, CARRIE FISHER, hereby incorporates by reference the

above paragraphs of this Complaint as though fully set forth herein.

      36.    The above-described injuries and damages were caused by the

negligence and carelessness of the Defendant, MARRIOTT INTERNATIONAL,

INC., individually, jointly and severally and/or through the acts and omissions of its

duly authorized agents, as follows:

             (a)   failing to properly install the audio-visual equipment, including
                   electrical power cords in the area where CARRIE FISHERS’
                   incident occurred;

             (b)   failing to properly supervise the installation of the audio-visual
                   equipment, including electrical power cords in the area where
                   CARRIE FISHERS’ incident occurred;

             (c)   failing to warn business invitees and guests of the aforesaid
                   defective and/or hazardous conditions of which it was aware or
                   should have been aware;

             (d)   failing to correct, remedy, repair and/or eliminate the aforesaid
                   defective and/or hazardous conditions of which it was aware or
                   should have been aware;

             (e)   failing to maintain the premises in a condition which would
                   protect and safeguard persons lawfully upon the premises and
                   prevent them from falling;

             (f)   allowing and permitting the aforesaid defects to remain on the
                   aforesaid premises so as to constitute a menace, danger,


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                     nuisance, trap and/or hazard to persons lawfully upon the
                     premises;

               (g)   failing to train its employees to safely set up and maintain
                     conference rooms where business invitees and/or guests would
                     be invited, in a condition and manner which would protect and
                     safeguard persons lawfully upon the premises and to prevent
                     them from getting injured;

               (h)   failing to train employees to inspect for potential hazards
                     properly, and

               (i)   failing to institute proper procedures, protocols, and/or policies
                     for instruction and employee training to inspect for potential
                     hazards.

      37.      As a direct and proximate result of the negligence and/or carelessness

of Defendant, MARRIOTT INTERNATIONAL, INC., as set forth more fully

above, Plaintiff, CARRIE FISHER, sustained severe and permanent injuries as set

forth above.

                                 COUNT II
                         COBB GALLERIA HOTEL, LLC

      38.      Plaintiff, CARRIE FISHER, hereby incorporates by reference the

above paragraphs of this Complaint as though fully set forth herein.

      39.      The above-described injuries and damages were caused by the

negligence and carelessness of Defendant, COBB GALLERIA HOTEL, LLC,

individually, jointly and severally and/or through the acts and omissions of its duly

authorized agents, as follows:

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    (a)   failing to properly install the audio-visual equipment, including
          electrical power cords in the area where CARRIE FISHERS’
          incident occurred;

    (b)   failing to properly supervise the installation of the audio-visual
          equipment, including electrical power cords in the area where
          CARRIE FISHERS’ incident occurred;

    (c)   failing to warn business invitees and guests of the aforesaid
          defective and/or hazardous conditions of which it was aware or
          should have been aware;

    (d)   failing to correct, remedy, repair and/or eliminate the aforesaid
          defective and/or hazardous conditions of which it was aware or
          should have been aware;

    (e)   failing to maintain the premises in a condition which would
          protect and safeguard persons lawfully upon the premises and
          prevent them from falling;

    (f)   allowing and permitting the aforesaid defects to remain on the
          aforesaid premises so as to constitute a menace, danger,
          nuisance, trap and/or hazard to persons lawfully upon the
          premises;

    (g)   failing to train its employees to safely set up and maintain
          conference rooms where business invitees and/or guests would
          be invited, in a condition and manner which would protect and
          safeguard persons lawfully upon the premises and to prevent
          them from getting injured;

    (h)   failing to train employees to inspect for potential hazards
          properly, and

    (i)   failing to institute proper procedures, protocols, and/or policies
          for instruction and employee training to inspect for potential
          hazards.


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      40.    As a direct and proximate result of the negligence and/or carelessness

of Defendant, COBB GALLERIA HOTEL, LLC, as set forth more fully above,

Plaintiff, CARRIE FISHER, sustained severe and permanent injuries as set forth

above.

                            COUNT III
            AUDIO VISUAL SERVICES GROUP LLC d/b/a PSAV

      41.    Plaintiff, CARRIE FISHER, hereby incorporates by reference the

above paragraphs of this Complaint as though fully set forth herein.

      42.    The above-described injuries and damages were caused by the

negligence and carelessness of the Defendant, AUDIO VISUAL SERVICES

GROUP LLC d/b/a PSAV, individually, jointly and severally and/or through the

acts and omissions of its duly authorized agents, as follows:

             (a)   failing to properly install the audio-visual equipment, including
                   electrical power cords in the area where CARRIE FISHERS’
                   incident occurred;

             (b)   failing to properly supervise the installation of the audio-visual
                   equipment, including electrical power cords in the area where
                   CARRIE FISHERS’ incident occurred;

             (c)   failing to warn business invitees and guests of the aforesaid
                   defective and/or hazardous conditions of which it was aware or
                   should have been aware;

             (d)   failing to correct, remedy, repair and/or eliminate the aforesaid
                   defective and/or hazardous conditions of which it was aware or
                   should have been aware;

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             (e)   failing to maintain the premises in a condition which would
                   protect and safeguard persons lawfully upon the premises and
                   prevent them from falling;

             (f)   allowing and permitting the aforesaid defects to remain on the
                   aforesaid premises so as to constitute a menace, danger,
                   nuisance, trap and/or hazard to persons lawfully upon the
                   premises;

             (g)   failing to train its employees to safely set up and maintain
                   conference rooms where business invitees and/or guests would
                   be invited, in a condition and manner which would protect and
                   safeguard persons lawfully upon the premises and to prevent
                   them from getting injured;

             (h)   failing to train employees to inspect for potential hazards
                   properly, and

             (i)   failing to institute proper procedures, protocols, and/or policies
                   for instruction and employee training to inspect for potential
                   hazards.

      43.    As a direct and proximate result of the negligence and/or carelessness

of Defendant, AUDIO VISUAL SERVICES GROUP LLC d/b/a PSAV as set

forth more fully above, Plaintiff, CARRIE FISHER, sustained severe and

permanent injuries as set forth above.




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                               COUNT IV
                       REALLY SUCCESSFUL LIMITED

      44.    Plaintiff, CARRIE FISHER, hereby incorporates by reference the

above paragraphs of this Complaint as though fully set forth herein.

      45.    The above-described injuries and damages were caused by the

negligence and carelessness of the Defendant, REALLY SUCCESSFUL

LIMITED, individually, jointly and severally and/or through the acts and omissions

of its duly authorized agents, as follows:

             (a)    failing to properly install the audio-visual equipment, including
                    electrical power cords in the area where CARRIE FISHERS’
                    incident occurred;

             (b)    failing to properly supervise the installation of the audio-visual
                    equipment, including electrical power cords in the area where
                    CARRIE FISHERS’ incident occurred;

             (c)    failing to warn business invitees and guests of the aforesaid
                    defective and/or hazardous conditions of which it was aware or
                    should have been aware;

             (d)    failing to correct, remedy, repair and/or eliminate the aforesaid
                    defective and/or hazardous conditions of which it was aware or
                    should have been aware;

             (e)    failing to maintain the premises in a condition which would
                    protect and safeguard persons lawfully upon the premises and
                    prevent them from falling;

             (f)    allowing and permitting the aforesaid defects to remain on the
                    aforesaid premises so as to constitute a menace, danger,


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                   nuisance, trap and/or hazard to persons lawfully upon the
                   premises;

             (g)   failing to train its employees to safely set up and maintain
                   conference rooms where business invitees and/or guests would
                   be invited, in a condition and manner which would protect and
                   safeguard persons lawfully upon the premises and to prevent
                   them from getting injured;

             (h)   failing to train employees to inspect for potential hazards
                   properly, and

             (i)   failing to institute proper procedures, protocols, and/or policies
                   for instruction and employee training to inspect for potential
                   hazards.

      46.    As a direct and proximate result of the negligence and/or carelessness

of Defendant, REALLY SUCCESSFUL LIMITED as set forth more fully above,

Plaintiff, CARRIE FISHER, sustained severe and permanent injuries as set forth

above.

                                 COUNT V
                              MOONSONG MEDIA

      47.    Plaintiff, CARRIE FISHER, hereby incorporates by reference the

above paragraphs of this Complaint as though fully set forth herein at length.

      48.    The above-described injuries and damages were caused by the

negligence and carelessness of Defendant, MOONSONG MEDIA nay

MOONSONG PRODUCTION, individually, jointly and severally and/or through

the acts and omissions of its duly authorized agents, as follows:

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    (a)   failing to properly install the audio-visual equipment, including
          electrical power cords in the area where CARRIE FISHERS’
          incident occurred;

    (b)   failing to properly supervise the installation of the audio-visual
          equipment, including electrical power cords in the area where
          CARRIE FISHERS’ incident occurred;

    (c)   failing to warn business invitees and guests of the aforesaid
          defective and/or hazardous conditions of which it was aware or
          should have been aware;

    (d)   failing to correct, remedy, repair and/or eliminate the aforesaid
          defective and/or hazardous conditions of which it was aware or
          should have been aware;

    (e)   failing to maintain the premises in a condition which would
          protect and safeguard persons lawfully upon the premises and
          prevent them from falling;

    (f)   allowing and permitting the aforesaid defects to remain on the
          aforesaid premises so as to constitute a menace, danger,
          nuisance, trap and/or hazard to persons lawfully upon the
          premises;

    (g)   failing to train its employees to safely set up and maintain
          conference rooms where business invitees and/or guests would
          be invited, in a condition and manner which would protect and
          safeguard persons lawfully upon the premises and to prevent
          them from getting injured;

    (h)   failing to train employees to inspect for potential hazards
          properly, and

    (i)   failing to institute proper procedures, protocols, and/or policies
          for instruction and employee training to inspect for potential
          hazards.


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      49.    As a direct and proximate result of the negligence and/or carelessness

of Defendant, MOONSONG MEDIA, as set forth more fully above, Plaintiff,

CARRIE FISHER, sustained severe and permanent injuries as set forth above.

                                    COUNT VI
                                 BARRY PLASKOW

      50.    Plaintiff, CARRIE FISHER, hereby incorporates by reference the

above paragraphs of this Complaint as though fully set forth herein.

      51.    The above-described injuries and damages were caused by the

negligence and carelessness of Defendant, BARRY PLASKOW, individually,

jointly and severally and/or through the acts and omissions of its duly authorized

agents, as follows:

             (a)      failing to properly supervise the installation of the audio-visual
                      equipment, including electrical power cords in the area where
                      CARRIE FISHERS’ incident occurred;

             (b)      failing to warn business invitees and guests of the aforesaid
                      defective and/or hazardous conditions of which it was aware or
                      should have been aware;

             (c)      failing to correct, remedy, repair and/or eliminate the aforesaid
                      defective and/or hazardous conditions of which it was aware or
                      should have been aware;

             (d)      failing to maintain the premises in a condition which would
                      protect and safeguard persons lawfully upon the premises and
                      prevent them from falling;



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             (e)      allowing and permitting the aforesaid defects to remain on the
                      aforesaid premises so as to constitute a menace, danger,
                      nuisance, trap and/or hazard to persons lawfully upon the
                      premises;

             (f)      failing to train its employees and contractors to safely set up and
                      maintain conference rooms where business invitees and/or guests
                      would be invited, in a condition and manner which would protect
                      and safeguard persons lawfully upon the premises and to prevent
                      them from getting injured;

             (g)      failing to train employees to inspect for potential hazards
                      properly, and

             (h)      failing to institute proper procedures, protocols, and/or policies
                      for instruction and training of employees to inspect for potential
                      hazards.

      52.    As a direct and proximate result of the negligence and/or carelessness

of Defendant, BARRY PLASKOW, as set forth more fully above, Plaintiff,

CARRIE FISHER, sustained severe and permanent injuries as set forth above.

                                     COUNT VII
                                   JOHN DOES 1-5

      53.    Plaintiff, CARRIE FISHER, hereby incorporates by reference the

above paragraphs of this Complaint as though fully set forth herein at length.

      54.    The above-described injuries and damages were caused by the

negligence and carelessness of the Defendants, JOHN DOES 1-5, individually,

jointly and severally and/or through the acts and omissions of its duly authorized

agents, as follows:

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            (a)   failing to warn business invitees and guests of the aforesaid
                  defective and/or hazardous conditions of which it was aware or
                  should have been aware;

            (b)   failing to inspect, correct, remedy, repair and/or eliminate the
                  aforesaid defective and/or hazardous conditions of which it was
                  aware or should have been aware;

            (c)   failing to maintain the premises in a condition which would
                  protect and safeguard persons lawfully upon the premises and
                  prevent them from falling;

            (d)   allowing and permitting the aforesaid defects to remain on the
                  aforesaid premises so as to constitute a menace, danger,
                  nuisance, trap and/or hazard to persons lawfully upon the
                  premises;

            (e)   failing to train its employees to safely set up and maintain
                  conference rooms where business invitees and/or guests would
                  be invited, in a condition and manner which would protect and
                  safeguard persons lawfully upon the premises and to prevent
                  them from getting injured;

            (f)   failing to train employees to inspect for potential hazards
                  properly, and

            (g)   failing to institute proper procedures, protocols, and/or policies
                  for instruction and training of employees to inspect for potential
                  hazards.

      55.   As a direct and proximate result of the negligence and/or carelessness

of Defendant, JOHN DOES 1-5, as set forth more fully above, Plaintiff, CARRIE

FISHER, sustained severe and permanent injuries as set forth above.




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                       COUNT VIII
      DAMAGES, ATTORNEYS’ FEES, EXPENSES, AND PUNITIVE
                        DAMAGES

      56.    Plaintiff, CARRIE FISHER, hereby incorporates by reference the

above paragraphs of this Complaint as though fully set forth herein.

      57.    The Defendants’ negligence and carelessness caused the Plaintiff,

CARRIE FISHER, to suffer severe and permanent injuries to her neck, back, arms,

hands, and knees; she also sustained severe and permanent injuries to the bones,

muscles, tendons, ligaments, nerves, and tissues of her neck, back, arms, hands, and

knees, including but not limited to the following: acute post-traumatic left knee

contusion, tear of lateral and medial meniscus, acute post-traumatic cervical and

lumbar strain and sprain, injury to her right knee, neck and back due to

overcompensation due to injuries sustained to the left knee and aggravation and/or

exacerbation of all known and unknown pre-existing medical conditions.

      58.    The Defendants’ negligence and carelessness caused Plaintiff,

CARRIE FISHER, to suffer internal injuries of unknown nature, severe aches,

pains, mental anxiety and anguish, and a severe shock to her entire nervous system,

and other injuries the full extent of which are not yet known.

      59.    Due to the Defendants’ negligence and carelessness, Plaintiff,

CARRIE FISHER, has in the past and will in the future undergo severe pain and


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suffering as a result of which she has been in the past and will in the future be unable

to attend to her usual duties and occupation, all to her great financial detriment and

loss. Plaintiff, CARRIE FISHER, believes and therefore avers that her injuries

resulted in a permanent loss of bodily function and are permanent in nature.

      60.    The above-described injuries and damages were caused by the

negligence and carelessness of the Defendants. Defendants interfered with CARRIE

FISHER’S normal living, enjoyment of life, loss of capacity to labor and earn

money, bodily health, and vigor, caused actual pain and suffering, mental anguish,

and has limited her activities.

      61.    The above-described injuries and damages were caused by the

negligence and carelessness of the Defendants and will cause future interference

with CARRIE FISHER’S normal living, enjoyment of life, loss of capacity to labor

and earn money, bodily health, and vigor, caused actual pain and suffering, mental

anguish, and has limited her activities.

      62.    To the extent that the Defendants fail to admit that they are liable for

causing the incident at issue, Plaintiff seeks attorney’s fees and costs pursuant to

O.C.G.A. § 13-6-11, because the Defendants have acted in bad faith, been stubbornly

litigious, or have caused Plaintiff unnecessary trouble and expense.




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      63.      Defendants’ actions showed willful misconduct, malice, fraud,

wantonness, oppression, or that entire want of care which would raise a presumption

of conscious indifference to the consequences so as to entitle Plaintiff and the general

public to punitive damages against the Defendants in accordance with O.C.G.A §

51-12-5.1.

      WHEREFORE, Plaintiff demands judgment in her favor and against

Defendants, individually, jointly and severally, and further prays as follows:

            1. The Plaintiff has a trial by jury;

            2. The Plaintiff recovers compensatory damages against the Defendants,

               in an amount to be proven at trial as allowed;

            3. The Plaintiff recovers from the Defendants for special, general, and

               punitive damages as determined at trial as well as attorney’s fees and

               costs of litigation, delay damages, pre-judgment interest, and

            4. For such other and further relief as this Court deems proper and

               allowable by law.

      Respectfully submitted this 11th day of June 2021.

                                               THE LAW OFFICE OF DANIEL R.
                                               CRUMBY


                                               ______________________________
                                               Daniel R. Crumby

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                               Counsel For Carrie Fisher




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CARRIE FISHER,                )      DEMAND FOR JURY TRIAL
                              )
                   Plaintiff, )
                              )
v.                            ) Civil Action No.:
                              )
MARRIOTT INTERNATIONAL,       )
INC., COBB GALLERIA HOTEL,    )
LLC, AUDIO VISUAL SERVICES )
GROUP LLC D/B/A PSAV,         )
REALLY SUCCESSFUL LIMITED, )
BARRY PLASKOW, MOONSONG )
MEDIA and JOHN DOES 1-5       )

                     Defendants.
__________________________________________________________________

                  CERTIFICATE OF COMPLIANCE
__________________________________________________________________

      I hereby certify that the preceding documents were prepared in Times New

Roman 14-point font in conformance with Local Rule 5.1(C).

      This 11th day of June 2021.

                                    THE LAW OFFICE OF DANIEL R.
                                    CRUMBY



                                    ______________________________
                                    Daniel R. Crumby
                                    Georgia Bar No.: 172517


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